Case 1:18-cv-05987-VSB Document 7

UNITED STATES DISTRICT

Filed 11/07/18 Page 1 of 22

COURT

SOUTHERN DISTRICT OF NEW YORK

Felipe Wear

 

Write the full name of each plaintiff.

-against-

SeeAteehsl City of New Yale Angel Bussve ,

Som QE HBA Fndlaye i, Sohn Doe Bire others Hi-t
Soho beecbeu gai, Guards HIVE Sohn tow Paramedics #1

Nod Yass Pe s by dorian Mosport, roo Diner Valarie Sis fh

Write the full name of each defendant. If you heed more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of

names. The names listed above must be identical to those
contained in Section Hl.

assigned)

AMENDED

COMPLAINT

Do you want a jury trial?
0 Yes )

wy Om

Was dears

 

NOTICE

See Federal Rule of Civil Procedure 5.2.

 

The public can access electronic court files. For privacy and
with the court should therefore not contain: an individual's
birth date; the full name of a person known to be a minor;
number. A filing may include only: the last four digits of as
an individual’s birth; a minor’s initials; and the last four dig

security reasons, papers filed

5 full social security number or full
or a complete financial account
ocial security number; the year of
its of a financial account number.

 

Rev. 2/10/17

- al liz

 

I cy 05457 Cw)

{Include case number if one has been

 
Case 1:18-cv-05987-VSB Document7 Filec

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited pow

cases can be heard in federal court: cases involving a federa

11/07/18 Page 2 of 22

er). Generally, only two types of
question and cases involving

diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United

States Constitution or federal laws or treaties is a federal qu

estion case. Under 28 U.S.C. § 1332,

a case in which a citizen of one State sues a citizen of another State or nation, and the amount

in controversy is more than $75,000, is a diversity case. Ina
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
X Federal Question
[] Diversity of Citizenship
A. If you checked Federal Question
Which of your federal constitutional or federal statutory rig
P__Us.c. § 4g, bi Amendinnt 4 Arn

diversity case, no defendant may

nts have been violated?

donent 3 [st Acendvat 5

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties
Of what State is each party a citizen?

The plaintiff ,

, 1s a citizen of the State of

 

(Plaintiff's name)

 

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or

subject of the foreign state of

 

If more than one plaintiff is named in the complaint, attach a
information for each additional plaintiff.

dditional pages providing

Page 2

 
Case 1:18-cv-05987-VSB Document 7 File

If the defendant is an individual:

The defendant,
(Defendant’s name)

d 11/07/18 Page 3 of 22

, is a citizen of the State of

 

or, if not lawfully admitted for permanent residence in t

subject of the foreign state of

he United States, a citizen or

 

If the defendant is a corporation:

The defendant,

pte

y

the State of

<

s incorporated under the laws of

 

and has its principal place of business in the State of

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attac
information for each additional defendant.

Il. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named
pages if needed.

hn additional pages providing

nthe complaint. Attach additional

 

 

 

Fe) Me, F . Vas
First Name Middle Initial Last Name

SO4_ Wy oth Sheet Mot. SI
Street Address

New Yoris New Yorks (0033
County, City State Zip Code

GYG- 850 ~ oS

 

Telephone Number Email Address

(if available)

Page 3

 
Case 1:18-cv-05987-VSB Document7 Filed 11/07/18 Page 4 of 22

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the

defendant. Make sure that the defendants listed below are
caption. Attach additional pages if needed.

Defendant 1:

Defendant 2:

Defendant 3:

Buse u@

Last Name

Baae.'

First Name

Sopervicor ot | loman Resountes

the same as those listed in the

Ad oinis ah on

Current Job Title (or other identifying information)

 

Current Work Address (or other address w

here defendant may be served)

 

 

County, City State Zip Code
Dino Diag

First Name Last Name

Caseswurker at Selfh@lo Community Seances

 

Current Job Title (or other identifying information)

5320 8 ue S'* Ploor

Current Work Address (or other address where defendant may be served)

 

 

 

New Yorks New fark ool”
County, City State Zip Code
Self helig Canna: hy Sevices
First Name Last Name
Current Job Title (or other identifying information)

520 8 Ayenme 5 Floor
Current Work Address (or other address w

here defendant may be served)

 

New Yorks New York JOO!'s
County, City State Zip Code

Page 4

 
Case 1:18-cv-05987-VSB Document7 Filed 11/07/18 Page 5 of 22

o

Defendant 4: homan Bosra S Md ninistentio
First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Ill. STATEMENT OF CLAIM
Place(s) of occurrence: Bo W [504 Gress oh. 31 New ors tu tit, lew York ~ Presoy seri an Hognta

rece Squwe Lospitat
Date(s) of occurrence: Gone Qi, aag — August Hy 2018
FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

See: Attache ck page S

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 5

 
Case 1:18-cv-05987-VSB Document7 Filed 11/07/18 Page 6 of 22

 

 

 

 

 

 

 

 

 

 

INJURIES:

if you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

Lhe sptloed Cmotiually and rently, WD meee mdical_kealoent

p « , . 5 : ; 1 : 4
ftom a4 Ohyseran and See ce pSychaoibist weekly « PD abba pula Mangenoat

 

 

 

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

ey. teat . , ; i 5 bo fn.
A SOO AWili GA 14 oe lamocess Yor My Poun and SUtbriog 5 lama.ge d_
v é WJ \ “

dyad j\esr Property
€ ye

 

 

 

Page 6

 
Case 1:18-cv-05987-VSB Document 7 Filed 11/07/18 Page 7 of 22

V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

T agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

 

 

Ali¢ Clg Due

 

 

 

 

 

Dated . Plaintiffs Signature
Felipe bE VAR

First Name Middle Initial Last Name

SOY | Yorn S7.FF3

Street Address
New VoRk Ny 160 35

County, City _. State Zip Code

GY e- 450-015 NoN€

Telephone Number Email Address (if available)

L read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Yes CINo

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7

 
List of Defendants

10.

11.

12.

13.

14.

. City of New York

Case 1:18-cv-05987-VSB Document7 Filed 11/07/18 Page 8 of 22

JOHN DOE HRA EMPLOYEE #1, personal and official capacity

Human Resources Administration
JOHN DOE POLICE OFFICERS #1-18, personal and
JOHN DOE SECURITY GUARDS #14

New York-Presbyterian Hospital

177 Fort Washington Ave, New York, NY 10032
JOHN DOE PARAMEDICS #1 -2, personal and offici
New York-Presbyterian Hospital

177 Fort Washington Ave, New York, NY 10032
VALERIE SOTO, in their personal and official capacit
Supervisor at Selfhelp Community Services

520 8th Avenue, 5th Floor New York, NY 10018
RIVAS SEARS, in their personal and official capacity
Supervisor at Selfhelp Community Services

520 8th Avenue, Sth Floor New York, NY 10018

official capacity

al capacity

y

New York-Presbyterian Hospital: Gracie Square Hospital

Gracie Square Hospital

420 East 76th Street, New York, New York 10021

Dr. REBECCA KASTOPOULOUS, in their personal and official capacity

Gracie Square Hospital

420 East 76th Street, New York, New York 10021

 
Case 1:18-cv-05987-VSB Document7 Filec

15. JOHN DOE GRACIE SQUARE NURSE #1
Gracie Square Hospital

420 East 76th Street, New York, New York 10021

 

11/07/18 Page 9 of 22
Case 1:18-cv-05987-VSB Document7 Filed

Statement of Facts:

11/07/18 Page 10 of 22

PLAINTIFF is FELIPE Viva, a 46-year-old male of Latino descent.

1,
2. PLAINTIFF resides at 804 W 180" Street, Apt. 31, New York, NY 10033.
3. PLAINTIFF has various medical conditions: hypertensive kidney disease

associated to stage 2 CKD, with stage 1 through stage 4 chroni
kidney disease; hyperlipidemia; obesity; an overactive bladder

intellectual disabilities; and sarcoidosis.

c kidney disease, or unspecified

; anxiety disorder; unspecified

 

4.

On October 10, 2001 the Civil Court of the City of New York appointed MARY

ROSADO as Guardian ad Litem of PLAINTIFF to help PLAINTIFF with an eviction notice

because of his various medical conditions and unspecified learning disabilities. The court

vacated the judgment of eviction, and PLAINTIFF continued receiving assistance from

ROSADO on housing matters. With the help of ROSADO and JOSE CANDELARIO, a friend of

PLAINTIFF, PLAINTIFF obtained services from Selfhelp to keep his apartment in 2001.

Selfhelp pays the landlord PLAINTIFF’s rent and provides PLAINTIFF a bi-weekly stipend for

groceries and other basic amenities. Currently, PHILLIP ELIk
PLAINTIFF’s Guardian ad Litem for housing court.

5. Selfhelp Community Services (“Selfhelp”) ope
care program that employs over 1800 home health aides who
provide skilled nurses assistance with bathing, grooming, hou
performing other daily chores. Selfhelp allows individuals to

6. Beginning in May 2018, PLAINTIFF began to
various employees of Selfhelp and Human Resources Admini

Selfhelp and HRA treated PLAINTIFF. On May 15, 2018 PL

about a recent visit to Selfhelp to pick up his check. While wa

<, a Selfhelp caseworker, serves as

rates a licensed not-for-profit home
provide care each year. They
sekeeping, and preparing meals and
continue to live independently.
make verbal complaints regarding
stration (“HRA”) to 311 because of
AINTIFF called 311 to complain

iting to receive his check,

 
Case 1:18-cv-05987-VSB Document7 Filed

PLAINTIFF asked to use the bathroom because of he has an 0)
because of his joint pain. PLAINTIFF was told he could not us
PLAINTIFF informed the Selfhelp staff of his medical conditic

VALERIE SOTO, a caseworker, came downstairs and told PL.

him to wait because of his behavior in the lobby. PLAINTIFF

comments because he had not acted inappropriately in the lobb

faggot and said he cannot use the restroom. PLAINTIFF proce

speaking with a Selfhelp caseworker and obtaining his check.

PLAINTIFF did not verbally or physically threaten, intimidate

person, nor did he attempt to do any of these actions. On May

11/07/18 Page 11 of 22

veractive bladder and a place to sit
e the bathroom and had to wait.
on and need to go to the bathroom.
AINTIFF that she would force

did not understand SOTO’s

y. SOTO called PLAINTIFF a fat
eded to wait for two hours before

While waiting in the lobby,

, or frighten SOTO or another

 

31, 2018, PLAINTIFF called 311

and again complained about Ms. SOTO because no actions had been taken by Selfhelp since he

complained to 311on May 15, 2018 about Ms. SOTO yelling at him when he went to pick up his

check.

7. Before May 2018, employees from Selfhelp an

d HRA made several unwelcomed

visits to his apartment. PLAINTIFF made complaints to 311 about these visits because he wished

to not have any visitors from Selfhelp and HRA so that he could rest. On May 17, 2018,

PLAINTIFF made a 311 complaint against RAFAEL MEDIN

making an unwelcomed visit to his apartment. MEDINA knoc

to come inside. PLAINTIFF told MEDINA that he did not wa

PLAINTIFF alone. On June 1, 2018, PLAINTIFF complained

President of HRA, about his issues with Mr. MEDINA visitin
PLAINTIFF’s consent. Mr. BRYNE stated he would not help
PLAINTIFF abruptly. On that same day, PLAINTIFF made a

against Mr. BRYNE and Mr. MEDINA.

A, a caseworker with HRA, for
ked on PLAINTIFF’s door, asking
nt any visitors and to leave

to KEVIN T. BYRNE, Vice

gy PLAINTIFF’S apartment without
PLAINTIFF and hung with

follow-up complaint with 311

 
Case 1:18-cv-05987-VSB Document 7 Filed 11/07/18 Page 12 of 22

8. PLAINTIFF then spoke with ANGEL BUSSUE, a unit supervisor with HRA, to
address his 311 complaints. BUSSUE told PLAINTIFF to stop filing the 311 complaints or the
police will be called. PLAINTIFF informed ANGEL BUSSUE that Mr. PLAINTIFF told
BUSSE that MEDINA had attempted to enter PLAINTIFF’s without PLAINTIFF’s permission
and that he did not want visitors and wanted to rest at home given his various medical conditions.
PLAINTIFF never threatened any HRA officials. PLAINTIFF never yelled at any HRA officials.
PLAINTIFF never physically assaulted any HRA officials.

9. Upon PLAINTIFF’S information and belief, based on a conversation between
PLAINTIFF and a secretary from Selfhelp, 311 had informed HRA about the various complaints
PLAINTIFF had made against HRA and Selfhelp employees. After receiving PLAINTIFF’s 311
complaints, JOHN DOE HRA EMPLOYEE #1 contacted Selthelp by email and alleged that

PLAINTIFF was disturbed and made threats of violence against VIRVAS SEARS, a supervisor

 

at Selfhelp, and DINO DIAZ, a caseworker at Selfhelp. Prior to June 21, 2018, PLAINTIFF did
not make threats of violence against RIVAS SEARS and DINO DIAZ. Selfhelp then called the
police to come to PLAINTIFF’S apartment and escort him to the hospital based on this
information.

10. Onor about June 21%, 2018, at approximately 10:00am, PLAINTIFF was asleep
in his living room of his apartment committing no visible crime. PLAINTIFF was not
threatening anyone, physically attacking anyone, or causing ahy disturbance of any kind.
PLAINTIFF was in his underwear, groomed, and appeared in good physical health.

11. Around 10:00am, PLAINTIFF heard banging én his door with what he perceived
to be hands and flashlights. Whomever was at PLAINTIFF’s door had not buzzed before
entering the building. PLAINTIFF went to the door of his apaptment to unlock it. After

PLAINTIFF unlocked his door and opened the door slightly, J OHN DOE POLICE OFFICERS
Case 1:18-cv-05987-VSB Document 7 Filed 11/07/18 Page 13 of 22

#1~—8 rushed in while he was still in his underwear. PLAINTIFF did not invite the officers into

the apartment. PLAINTIFF did not consent to the officers coming in to the apartment. JOHN

 

DOE POLICE OFFICERS #1-8 did not ask any questions to PLAINTIFF or announce why they
were at his apartment before coming in or after. The JOHN DOE POLICE OFFICERS did not
have a warrant or any exigent circumstance permitting them to enter PLAINTIFF’s home.

12. PLAINTIFF asked if he could put on clothes and JOHN DOE POLICE
OFFICERS #1-8 told him he could. |

13. PLAINTIFF then proceeded to the other rooms within his apartment in order to
grab clothes. JOHN DOE POLICE OFFICERS #1-8 followed PLAINTIFF into the other rooms,
still not stating why they were there. PLAINTIFF then announced he wanted to go into a drawer
to grab some documents showing that he requested to be left alone. JOHN DOE POLICE
OFFICERS #1-8 then searched PLAINTIFF’S drawer without permission.

14. After being in the apartment for about an hour, J OHN DOE POLICE OFFICERS
#1-8 said they were taking PLAINTIFF to the hospital for an evaluation but did not disclose why
they believed PLAINTIFF needed to go to the hospital. PLAINTIFF never threatened the JOHN
DOE POLICE OFFICERS #1-8. PLAINTIFF never yelled at J OHN DOE POLICE OFFICERS
#1-8. PLAINTIFF never physically assaulted JOHN DOE POLICE OFFICERS #1-8.
PLAINTIFF remained calm while the police officers were in his apartment and stood in his
living room waiting for the police officers to speak to him. J OHN DOE POLICE OFFICERS #
1-8 did not conduct an independent evaluation of PLAINTIFF to determine if he was an
imminent danger to himself or others. |

15. | PLAINTIFF was taken to the ambulance that was outside his apartment. JOHN
DOE POLICE OFFICERS #1-2 rode in the back of the ambulance with PLAINTIFF to a

hospital. Plaintiff was not placed in handcuffs, but the officers’ statements made PLAINTIFF

 
Case 1:18-cv-05987-VSB Document7 Filed

believe that he had to cooperate and that he would be placed in

PLAINTIFF did not want to go to the hospital. PLAINTIFF w
Presbyterian Hospital: Milstein Emergency Department. He w
JOHN DOE POLICE OFFICERS #1-—2 and paramedics.

16. | PLAINTIFF was afraid to try and leave. He wa

imprisoned at the hospital. At no point prior to being involunte

injure himself or another person. At no point did PLAINTIFF

intimidate, or frighten another person, nor did he attempt to do

17.

PLAINTIFF was forcibly hospitalized for 1 days and a few ho

18,

left and JOHN DOE SECURITY GUARDS #1-2 entered the

GUARDS #1-2 and JOHN DOE PARAMEDICS #1—2 told th

clothes and put on a gown. JOHN DOE SECURITY GUARD
PARAMEDICS #1-2 made the PLAINTIFF squat to conduct
proceeded to take his belongings. PLAINTIFF did not consent
PLAINTIFF gave no indication that he had hidden drugs or w
Defendants had no basis to believe that PLAINTIFF had hidde
PLAINTIFF was not given any injections at this time. PLAIN
was told he was going to be placed in the psych ward.

19. JOHN DOE SECURITY GUARDS #1-2 then
with chairs in them and PLAINTIFF remained in this room fo

between four and five hours before speaking with a doctor. Th

he wanted to hurt himself, and PLAINTIFF stated no. PLAIN’

PLAINTIFF remained at the hospital from June

Shortly after being placed in the room, JOHN I

11/07/18 Page 14 of 22

handcuffs if he did not.
as then taken to New York-

as then placed into a room by

s involuntarily committed and
irily committed did he threaten to
verbally or physically threaten,
any of these actions.
> 21, 2018 until June 22, 2018.
urs.
JOE POLICE OFFICERS #1-2
room. JOHN DOE SECURITY
e PLAINTIFF to take off his
S #1-2 and the JOHN DOE

an anal cavity search and then

to this search. Prior to the search,
eapons on his person. These
=n drugs or weapons on his person.

TIFF spoke with an orderly and

escorted PLAINTIFF to a room
ra day. PLAINTIFF waited
ye doctor had asked PLAINTIFF if

TIFF then waited an additional four

 
Case 1:18-cv-05987-VSB Document7 Filed 11/07/18 Page 15 of 22

to five hours before speaking with JOHN DOE NURSE #1. JOHN DOE NURSE #lasked
PLAINTIFF if he wanted to hurt himself, and PLAINTIFF stated no. PLAINTIFF complained to
JOHN DOE NURSE #1 that he could not breathe and needed his inhaler. JOHN DOE NURSE.
#1 told PLAINTIFF that he needed to take pills if he wished to be released. PLAINTIFF said he
did not want to take the pills. JOHN DOE NURSE #1 said if he did not take them, PLAINTIFF
could not leave the facility. PLAINTIFF took the pills and remained in the room without
receiving medical attention for his breathing problems. |

20. | PLAINTIFF was released from the hospital on June 22, 2018 on his own.
PLAINTIFF never threatened anyone. PLAINTIFF never yelled at anyone. PLAINTIFF never
physically assaulted anyone. :

21. Atno point while PLAINTIFF was at the hospital did he threaten himself or
another person. At no point during the entirety of his interaction did PLAINTIFF verbally or
physically threaten, intimidate, or frighten another person, not did he attempt to do any of these
actions. At no point did PLAINTIFF threaten or engage in selftharm. PLAINTIFF was always
well-groomed and while at the hospital. At no point did PLAINTIFF consent to being in the
hospital. |

22. From June 21, 2018 until June 22, 2018, PLAINTIFF was never an imminent
danger to himself or others. Even if he was a danger to himself or others, forced hospitalization
would not have been the least restrictive alternative for dealing with PLAINTIFF’s condition.

23. The entirety of PLAINTIFF’s forced hospitalization and forced medication
through pills lacked any medical or safety justification. PLAINTIFF had never been forcibly
hospitalized or voluntarily hospitalized for mental health treatment prior to this occurrence.

24. After leaving the hospital, PLAINTIFF made 311 complaints to follow-up with

the complaints he made prior to June 21, 2018. Specifically, on June 24, 2018, PLAINTIFF

 
Case 1:18-cv-05987-VSB Document7 Filed

called 311 complaining that RIVAS SEARS and DINO DIAZ

to PLAINTIFF’s apartment on June 21, 2018 and forcibly take
also made a complaint against Mr. MEDINA, Mr. BYRNE, an
supervisor of HRA, that he did not want any visitors and want

July 10, 2018, PLAINTIFF called 311 and spoke with Ms. LE]

MAYSSA CHOUBAH, Deputy Commissioner of HRA about
made against HRA. PLAINTIFF also informed Ms. LEDEN that HRA sent the email to Selfhelp

falsely alleging he was disturbed so that the police were then c

11/07/18 Page 16 of 22

had contacted the police to come
him to the hospital. PLAINTIFF
d Mr. MURPHY, another

>d his rest. On July 4, 2018 and
DEN, an HRA supervisor, and

his previous 311 complaints he

alled to PLAINTIFF’s apartment

 

on June 21, 2018.

25.

Upon PLAINTIFF’S information and belief, RIVAS SEARS sent DINO DIAZ to

PLAINTIFF’s apartment because of the various complaints PLAINTIFF made with 311

regarding RIVAS SEARS, VALARIE SOTO, and DINO DIAZ. DINO DIAZ would knock on

PLAINTIFF’s apartment door and leave notes on the door. Th

e notes would state Selfhelp will

come on August 3, 2018 to PLAINTIFF’s apartment and that we have a key access to enter the

apartment. PLAINTIFF called Selfhelp on August 2, 2018 to say he did not want DINO DIAZ or

any other individuals to come to his apartment. PLAINTIFF stated his apartment was clean and

he had his own equipment. The Selfhelp employee stated that
come to PLAINTIFF’s apartment on August 3, 2018.

26. On July 13, 2018, HRA issued a decision statir

was fine and that no one would

1g that PLAINTIFF was ineligible

to receive adult protective services because PLAINTIFF already had someone else willing and

able to responsibly assist him. PLAINTIFF stated that PHILL

 

IP ELIK, serves as PLAINTIFF’s

Guardian ad Litem and has been willing and able to assist PLAINTIFF.

27. On or about August 3, 2018, at approximately

the living room of his apartment committing no visible crime.

 

9:00am, PLAINTIFF was resting in

PLAINTIFF was not threatening
Case 1:18-cv-05987-VSB Document 7 Filed 11/07/18 Page 17 of 22

anyone, physically attacking anyone, or causing any disturbance of any kind. PLAINTIFF was
nude, groomed and appeared in good physical health.

28. Around 9:00am, DINO DIAZ, knocked on PLAINTIFF'S door. DINO DIAZ
stated there were cleaners there to clean PLAINTIFF’S apartment. PLAINTIFF had not called or
requested anyone to come to his apartment and clean it for him. Nor did PLAINTIFF’s apartment
require cleaning. The apartment was not a danger to him or others. The apartment was
appropriately clean. PLAINTIFF called JOHN CRAWFORD, New York Supreme Court Clerk,
stating that DINO DIAZ was harassing PLAINTIFF. Mr. CRAWFORD told PLAINTIFF to call
911 as well. PLAINTIFF then called 911 and stated that DINO DIAZ was harassing
PLAINTIFF. PLAINTIFF put on his clothes as he waited for police officers to arrive at his
apartment. |

29. PLAINTIFF opened the door when he believed the police officers had arrived to
assist him. When PLAINTIFF opened his door, JOHN DOE POLICE OFFICERS #9-18 rushed
into PLAINTIFF’S apartment. PLAINTIFF did not invite the officers into the apartment.
PLAINTIFF did not consent to the officers coming in to the apartment. JOHN DOE POLICE
OFFICERS #9-18 did not ask any questions to PLAINTIFF or announce why they were at his
apartment before coming in or after. PLAINTIFF did not exit his apartment. The JOHN DOE
POLICE OFFICERS did not have a warrant or any exigent circumstance permitting them to
enter PLAINTIFF’s home. |

30. JOHN DOE POLICE OFFICERS #9-18 erabb ed PLAINTIFF, had spread
PLAINTIFF’s arms and legs wide, and proceeded to search PLAINTIFF. When the police
officers were entering the apartment, DINO DIAZ falsely stated to the police that PLAINTIFF
had taken out a knife and attempted to use it against DINO DIAZ. As far as PLAINTIFF knows,

this is the first time that DIAZ had made that accusation to the police. JOHN DOE POLICE

 
Case 1:18-cv-05987-VSB Document 7 Filed 11/07/18 Page 18 of 22

OFFICERS #9-18 never explained to PLAINTIFF why they had searched him. PLAINTIFF did
not take out a knife and attempt to use it against DINO DIAZ. PLAINTIFF had taken out his Pro
Se complaint to show to JOHN DOE POLICE OFFICERS #9-18. PLAINTIFF noted that several
people dressed in blue shirts with Selfhelp written on their shirts entered his apartment as well
and searched his apartment.
31. JOHN DOE POLICE OFFICERS #9-19 continued to grab and pull PLAINTIFF,
forcing PLAINTIFF to leave his apartment and then enter an ambulance. PLAINTIFF told
paramedics in the ambulance that he could not breathe and needed his inhaler. PLAINTIFF’s
request was ignored. PLAINTIFF was not placed in handcuffs, but the officers’ statements and

actions made PLAINTIFF believe that he had to cooperate and that he would be placed in

 

handcuffs if he did not. PLAINTIFF did not want to go to the hospital. PLAINTIFF was an
imminent danger to himself or any other individual.

32. PLAINTIFF never threatened DINO DIAZ or j OHN DOE POLICE OFFICERS
#9-18. PLAINTIFF never yelled at DINO DIAZ or JOHN DOE POLICE OFFICERS #9-18.
PLAINTIFF never physically assaulted DINO DIAZ or J OHN DOE POLICE OFFICERS #9-—18.

33. | PLAINTIFF was then taken to New York-Presbyterian, PLAINTIFF was placed
in aroom and waited a few hours with JOHN DOE SECURITY GUARDS #3—4 before speaking
with JOHN DOE NURSE #2. JOHN DOE NURSE #72 stated that PLAINTIFF was being
removed because he looked upset. At this time, PLAINTIFF was crying and could not breathe.
PLAINTIFF requested to have his inhaler, but his request was denied. JOHN DOE SECURITY
GUARDS #34 forced the plaintiff to strip, squat for an anal cavity search, and change into a
gown. PLAINTIFF did not consent to this search. Prior to the search, PLAINTIFF gave no
indication that he had hidden drugs or weapons on his person. These Defendants had no basis to

believe that PLAINTIFF had hidden drugs or weapons on his person. JOHN DOE SECURITY

 
Case 1:18-cv-05987-VSB Document7 Filed

GUARDS #3—4 then took PLAINTIFF’S personal belongings

Square Hospital. JOHN DOE SECURITY GUARDS #34 res

using straps that were attached to the bed. PLAINTIFF was pl

hours before speaking with a doctor.
34.
imprisoned at the hospital. At no point prior to being involunt

injure himself or another person. At no point did PLAINTIFF

intimidate, or frighten another person, nor did he attempt to dc

35.
PLAINTIFF was forcibly hospitalized for 10 days.

36. Not long after arrival, Dr. REBECCA KASTO

PLAINTIFF’s room. Dr. KASTOPOULOUS asked PLAINTI

PLAINTIFF was afraid to try and leave, was in

PLAINTIFF remained at the hospital from Aug

11/07/18 Page 19 of 22

PLAINTIFF was taken to Gracie
trained PLAINTIFF on a bed

aced into a room and waited a few

voluntarily committed and
arily committed did he threaten to
verbally or physically threaten,

any of these actions.

rust 4, 2018 until August 15, 2018.

POULOUS, a psychiatrist, came to

 

FF if he wanted to hurt himself,

and PLAINTIFF stated no. Dr. KASTOPOULOUS ordered that PLAINTIFF be medicated. Dr.

KASTOPOULOUS did not perform an independent evaluation. No hospital staffed performed a

medical evaluation of PLAINTIFF. PLAINTIFF did not consent to taking the medication. The

medication that was forcibly injected into PLAINTIFF was Risperdal. Despite PLAINTIFF’s

stated objections to taking the medication, he was held down by JOHN DOE Gracie Square

NURSE #1. JOHN DOE Gracie Square NURSE #1 forcibly inserted a needle into PLAINTIFF’s

arm and pushed a plunger connected to that needle, injecting Risperdal, a medication, into

PLAINTIFF’s body over PLAINTIFF’s objection.
37.
asked to be released from the hospital. That request was denie

with PLAINTIFF multiple times a day. PLAINTIFF was told

 

Every time a nurse came to the PLAINTIFF’s room every few hours, PLAINTIFF

-d. Multiple nurses came to speak

that he would only be released

10
Case 1:18-cv-05987-VSB Document7 Filed 11/07/18 Page 20 of 22

from the hospital if he took the medication. PLAINTIFF was not told of any other way to be

released from the hospital.

38. While in the hospital, a nurse would regularly tell Plaintiff that he had to take pills

prescribed by Dr. KASTOPOULOUS. PLAINTIFF was not given the option to refuse the

medication, and he was forced to take it. JOHN DOE Gracie Square NURSE #1 would tell

PLAINTIFF that if he did not take the pills, she would report it to her supervisor and the

supervisor would send the Male and Female Nurses to return and physically force PLAINTIFF to

take the pills.

39. While in hospital, PLAINTIFF received at least 5 injections. PLAINTIFF was

forced to take the pills 2 to 3 times a day. At all times, JOHN

#1 would check PLAINTIFF’S mouth to make sure he swallov

DOE Gracie Square NURSE #1 would use his hands to make s

pills.

40. | The medication made PLAINTIFF groggy and
PLAINTIFF could not balance himself and hit his head on the
PLAINTIFF complained to multiple nurses about the head pa

attention. PLAINTIFF’s request was denied.

DOE Gracie Square NURSE
ved the pills, and at times JOHN

ure PLAINTIFF swallowed the

unable to stand straight. At point,
nightstand next to his bed.

n he felt and asked for medical

41. While PLAINTIFF was in the hospital, PLAINTIFF was informed he had a

visitor who wished to speak with him in the cafeteria. PLAINTIFF went to the cafeteria and

DINO DIAZ joined the PLAINTIFF. DINO DIAZ yelled at PLAINTIFF, stating no one harassed

him and demanded PLAINTIFF apologize to RIVAS SEARS

and VALARIE SOTO, Self Help

supervisors, if PLAINTIFF wanted to be released from the hospital. DINO DIAZ continued

yelling at PLAINTIFF, making PLAINTIFF cry and visibly scared. JANELLE WASHINGTON,

a nurse, informed Dr. KASTOPOULOUS what occurred. PLAINTIFF was returned to his room

11

 
Case 1:18-cv-05987-VSB Document 7 Filed 11/07/18 Page 21 of 22

and DINO DIAZ was escorted out of the hospital by security guards. At no point during the
entirety of this interaction did PLAINTIFF verbally or physically threaten, intimidate, or frighten
another person, nor did he attempt to do any of these actions.
42. On August 14, 2018, PLAINTIFF was released from the hospital to his own care
with the following prescriptions: aspirin, losartan, risperiDONE intramuscular injection, and

risperiDONE oral tablet.

 

43. At no point while PLAINTIFF was at the hospital did he threaten himself or
another person. At no point during the entirety of his interaction did PLAINTIFF verbally or
physically threaten, intimidate, or frighten another person, not did he attempt to do any of these
actions. At no point did PLAINTIFF threaten or engage in self-harm, PLAINTIFF was always
well-groomed and while at the hospital. At no point did PLAINTIFF consent to being in the
hospital. |

44. From August 4, 2018 until August 14, 2018, PLAINTIFF was never an imminent
danger to himself or others. Even if he was a danger to himself or others, forced hospitalization
would not have been the least restrictive alternative for dealing with PLAINTIFF’s condition.

45. The entirety of PLAINTIFF’s forced hospitalization and forced medication

 

through needles and pills lacked any medical or safety justification. PLAINTIFF had never been
forcibly hospitalized or voluntarily hospitalized for mental health treatment prior to this
occurrence.

46. On August 14, 2018, PLAINTIFF was unable to use his keys to enter his
apartment after being discharged from the hospital. Upon PLAINTIFF’s information and belief,
Self Help had changed the locks on his apartment door. PLAINTIFF waited for two hours
outside his apartment because he felts severe pain in his joints and not well enough to move.

PLAINTIFF then contacted his superintendent, so he may re-enter his apartment. The

12

 
Case 1:18-cv-05987-VSB Document 7 Filed 11/07/18 Page 22 of 22

superintendent asked a neighbor to watch as he broke down the door to PLAINTIFF’s apartment.
The super intendent later replaced the locks on the door. Upon entering his apartment,
PLAINTIFF noticed his apartment was messy, there was considerable damage, and had items
missing. PLAINTIFF found graffiti on the walls, his bedroom door and drawers broken,
important documents scattered across his apartment, and his iPhone and cleaning supplies
missing. He also noticed his music records, game controllers, boxes of comic books, c his
father’s television, and his clothes were missing. PLAINTIFF then proceeded to contacted
PHILLIP ELIK for help. PHILLIP ELIK came to PLAINTIFF’s apartment to assess the damage

in PLAINTIFF’s apartment and create a list of items that were missing.

13

 
